                     Case 1-15-44838-nhl           Doc 9       Filed 10/30/15         Entered 10/31/15 00:18:51


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 15-44838-nhl
Guillermo Rodriguez                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mmendieta                    Page 1 of 1                          Date Rcvd: Oct 28, 2015
                                      Form ID: 271                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 30, 2015.
db             +Guillermo Rodriguez,   308 Harman Street,   Brooklyn, NY 11237-4933

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 28 2015 18:16:00
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,   New York, NY 10014-9449
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 30, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 28, 2015 at the address(es) listed below:
              Marianne DeRosa    Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 2
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                                United States Bankruptcy Court
                                     Eastern District of New York
                                 271−C Cadman Plaza East, Suite 1595
                                     Brooklyn, NY 11201−1800

IN RE:                                                                              CASE NO: 1−15−44838−nhl
   Guillermo Rodriguez
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                               CHAPTER: 13
   xxx−xx−9676
                       DEBTOR(s)


                       NOTICE OF DEFICIENT FILING − CHAPTER 13
NOTICE IS HEREBY GIVEN THAT:
The bankruptcy petition filed by the above−referenced debtor(s) on October 28, 2015 did not include the following
item(s):

DOCUMENTS DUE AT TIME OF FILING OF BANKRUPTCY PETITION

         Voluntary Petition (Official Form 1) (Signed)(Original & One Copy)
         List of Creditors (Certified by Attorney or Debtor, if Pro−Se) Typed (Name and Address ONLY)
         Statement of Social Security Number (Official Form 21)
         Statement Pursuant to Local Bankruptcy Rule 1073−2(b)
         Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code and Certification of
         Notice to Individual Consumer Debtor(s) (Official Form B201A and 201B)
         Certificate of Credit Counseling or Motion requesting waiver (Individual Only)
         Exhibit D (Individual Debtor's Statement of Compliance with Credit Counseling)
         Declaration and Signature of Non−Attorney Bankruptcy Petition Preparer (Official Form 19)
         Disclosure of Compensation of Bankruptcy Petition Preparer (Official Form B280)
DOCUMENTS DUE WITHIN FOURTEEN DAYS OF FILING OF BANKRUPTCY PETITION OR BY
341 MEETING DATE
         Certificate of Credit Counseling (Exhibit D Box 2 Checked) (Individual) (Due Within 14 Days)
         Disclosure of Compensation Pursuant to Federal Bankruptcy Rule 2016(b) (Due Within 14 Days)
         Pre−petition Statement Pursuant to Local Bankruptcy Rule 2017−1 (Due Within 14 Days)
         Summary of Schedules (Official Form B6) (Due Within 14 Days)
         Statistical Summary of Certain Liabilities (Official Form B6) (Individual Debtor) (Due Within 14 Days)
         Schedule A (Real Property) (Official Form B6A) (Due Within 14 Days)
         Schedule B (Personal Property) (Official Form B6B) (Due Within 14 Days)
         Schedule C (Property Claimed as Exempt by Individual Debtor) (Official Form B6C) (Due Within 14
         Days)


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DOCUMENTS DUE WITHIN FOURTEEN DAYS OF FILING OF BANKRUPTCY PETITION OR BY
341 MEETING DATE (Continued)
         Schedule D (Creditors Holding Secured Claims) (Official Form B6D)(Due Within 14 Days)
         Schedule E (Creditors Holding Unsecured Priority Claims) (Official Form B6E) (Due Within 14
         Days)
         Schedule F (Creditors Holding Unsecured Nonpriority Claims) (Official Form B6F) (Due Within
         14 Days)
         Schedule G (Executory Contracts and Unexpired Leases) (Official Form B6G) (Due Within 14 Days)
         Schedule H (Co−debtors) (Official Form B6H) (Due Within 14 Days)
         Schedule I (Your Income) (Individual) (Official Form B6I) (Due Within 14 Days)
         Schedule J (Your Expenses) (Individual) (Official Form B6J) (Due Within 14 Days)
         Declaration Concerning Debtor(s) Schedules (Individual) (Official Form 6) (Due Within 14 Days)
         Statement of Financial Affairs (Official Form 7) (Due Within 14 Days)
         Chapter 13 Plan (Signed by the Debtor) (Due Within 14 Days)
         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
         (Official Form B22C−1) (Due Within 14 Days)
         Chapter 13 Calculation of Your Disposable Income (Official Form B22C−2) Required only if
         Debtor(s) income is above the median (Due Within 14 Days)
         Copies of Pay Statements received within 60 days of filing from any employer or a statement
         indicating this requirement is not applicable (Show only last four digits of Social Security
         Number) (Due Within 14 Days)
                                YOUR CASE MAY BE DISMISSED IF
         YOU DO NOT MAKE THE REQUIRED FILINGS ON A TIMELY BASIS
FURTHER NOTICE IS GIVEN THAT if the required item(s) identified above in bold print are not filed
with the Court within 45 days after the date that this bankruptcy petition was filed, this bankruptcy case
may be subject to automatic dismissal effective on the 46th day after the date that the bankruptcy petition
was filed, without further notice or opportunity for a hearing. This 45−day period may be extended for an
additional period not to exceed 45 days, if the debtor makes a request for an exemption within the initial 45 days
and the Court finds justification for extending the period for the filing. See 11 U.S.C. § 521(i)(1).

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due at the time of filing of this bankruptcy petition are not filed
with the Court within seven days of this notice.

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due within 14 days of the filing of the bankruptcy petition, or
at the time of the 341 meeting, are not timely filed with the Court.

FURTHER NOTICE IS GIVEN THAT in order to receive a discharge, the debtor must complete a Personal
Financial Management Course. The Certificate of Completion of Instructional Course Concerning Financial
Management (Official Form 23) must be filed no later than the date of the last payment made under the plan or
the date of the filing of a motion for a discharge under § 1328(b), unless the course provider has notified the court
that the debtor has completed the course. 11 U.S.C. § 1328(g)(1) and Fed.R.Bankr.P. 1007(b)(7), (c). If the
Certificate of Completion is not filed within the allotted time, a discharge will not be issued and the case will be
closed.


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FURTHER NOTICE IS GIVEN THAT if this bankruptcy case is dismissed for failure to make the required
filings, or for any other reason, then the debtor may not receive the benefit of the automatic stay in a subsequent
bankruptcy case filed for a period of up to one year. See 11 U.S.C. §§ 362(c)(3) and (c)(4).

 Dated: October 28, 2015

                                                                           For the Court, Robert A. Gavin, Jr., Clerk of Court



BLdef13a.jsp [Notice of Deficient Filing Chapter 13 rev.12/01/14]
